CLERK'S OFFICE US. DIST. COURT
AT LYNCHBURG, VA
IN THE UNITED STATES DISTRICT COURT FILED. y lle

FOR THE WESTERN DISTRICT OF VIRGINIA APK 02 2007

CHARLOTTESVILLE DIVISION JOHN F.co RAN, CLERK

 

DEFUTY CLERK
DENA BOWERS, CivIL No. 3:06cv00041

Plaintiff,
v. ORDER
NAT SCURRY AND

LUCINDA CHILDS-WHITE,
JUDGE NORMAN K. Moon

 

Defendants

 

This matter is before the Court on Defendants’ Unopposed Motion for Entry of Judgment,
filed on March 22, 2007 (docket entry no. 105). Because Plaintiff has stipulated to waive the only
remaining issue in the case—whether she had an opportunity to be heard before she was fired—
final judgment shall be, and hereby is, ENTERED in favor of Defendants.

It is so ORDERED.

The Clerk of the Court is hereby directed to send a certified copy of this Order to all

counsel of record.

ENTERED: -?22460% 6 (4 fit fte’

United States District Judge

prt 2 2007

Date

 

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